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                                  U.S. District Court
         U.S. District Court for the Northern District of Oklahoma (Tulsa)
            CRIMINAL DOCKET FOR CASE #: 4:24−mj−00407−CDL−1

  Case title: USA v. Williams                            Date Filed: 06/10/2024

  Other court case number: CR−23−441−2 USDC WD/OK

  Assigned to: Magistrate Judge
  Christine D Little

  Defendant (1)
  Victoria Leanne Williams        represented by Katherine Ann Greubel
                                                 Federal Public Defender
                                                 Northern District of Oklahoma
                                                 1 W. 3rd Street
                                                 Tulsa, OK 74103
                                                 918−581−7656
                                                 Email: katherine_greubel@fd.org
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Public Defender or Community
                                                 Defender Appointment

  Pending Counts                                Disposition
  None

  Highest Offense Level
  (Opening)
  None

  Terminated Counts                             Disposition
  None

  Highest Offense Level
  (Terminated)
  None

  Complaints                                    Disposition
  18:3606.F



  Plaintiff
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  USA                                          represented by Kate Brandon
                                                              DOJ−USAO
                                                              110 W 7th St
                                                              Tulsa, OK 74119
                                                              918−382−2706
                                                              Email: kate.brandon@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

   Date Filed   # Page Docket Text
   06/07/2024           ARREST on Charges Pending in Another District(Rule 5) as to Victoria Leanne
                        Williams (tjc, Dpty Clk) (Entered: 06/10/2024)
   06/10/2024   1       MOTION for Detention by USA as to Victoria Leanne Williams [Note: Attorney
                        Kate Brandon added to party USA(pty:pla).] (Brandon, Kate) (Entered:
                        06/10/2024)
   06/10/2024   2       MOTION for Hearing (Re: 1 MOTION for Detention ) by USA as to Victoria
                        Leanne Williams (Brandon, Kate) (Entered: 06/10/2024)
   06/10/2024   3       MINUTES of Proceedings − held before Magistrate Judge Christine D Little:
                        Initial Appearance in Rule 5 Proceedings held on 6/10/2024 , appointing FPD
                        attorney Katherine Ann Greubel for Victoria Leanne Williams, ruling on
                        motion(s)/document(s): #1 & #2 moot, ordering defendant be detained as to
                        Victoria Leanne Williams (Re: 2 MOTION for Hearing , 1 MOTION for
                        Detention ) (Court Reporter: C1) (ll, Dpty Clk) (Entered: 06/10/2024)
   06/10/2024   4       ORDER by Magistrate Judge Christine D Little , appointing FPD attorney as to
                        Victoria Leanne Williams (ll, Dpty Clk) (Entered: 06/10/2024)
   06/10/2024   5       WAIVER of Rule 5 Hearing by Victoria Leanne Williams (ll, Dpty Clk)
                        (Entered: 06/10/2024)
   06/10/2024   6       COMMITMENT to Another District (Rule5) by Magistrate Judge Christine D
                        Little as to Victoria Leanne Williams (ll, Dpty Clk) (Entered: 06/10/2024)
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                      Plaintiff,

v.
                                                      Case No. 24-MJ-407-CDL
VICTORIA LEANNE WILLIAMS,

                      Defendant.

                            Motion for Revocation of Release

     The United States moves for pretrial detention of Defendant, pursuant to 18
U.S.C. § 3148.

     1. Eligibility of Case. This case is eligible for a detention order because there is
clear and convincing evidence to believe that the Defendant has violated conditions
of her release as set forth in the Petition for Warrant on Pretrial Release.

     2. Reason for Detention. The Court should detain Defendant because (check all
that apply):
     ☒ There are no conditions of release which will reasonably assure Defendant's
       appearance as required.
     ☐ There are no conditions of release which will reasonably assure the safety of
       any other person and the community.
     ☒ Defendant is unlikely to abide by any condition or combination of conditions
       of release.
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   Dated this 10th day of June, 2024.


                                        Respectfully submitted,

                                        CLINTON J. JOHNSON
                                        UNITED STATES ATTORNEY


                                        /s/ Kate Stidham Brandon
                                        Kate Stidham Brandon, OBA No. 33125
                                        Assistant United States Attorney
                                        110 West Seventh Street, Suite 300
                                        Tulsa, Oklahoma 74119
                                        (918) 382-2700




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  MIME−Version:1.0
  From:CM−ECFMail_OKND@oknd.uscourts.gov
  To:Courtmail@localhost.localdomain
  Bcc:
  −−Case Participants: Kate Brandon (caseview.ecf@usdoj.gov, hunter.marone@usdoj.gov,
  kate.brandon@usdoj.gov), Magistrate Judge Christine D Little
  (cdlintake_oknd@oknd.uscourts.gov)
  −−Non Case Participants:
  −−No Notice Sent:

  Message−Id:3090151@oknd.uscourts.gov
  Subject:Activity in OKND case 4:24−mj−00407−CDL USA v. Williams − Arrest (Rule 5)
  Content−Type: text/html

                                            U.S. District Court

                         U.S. District Court for the Northern District of Oklahoma

  Notice of Electronic Filing


  The following transaction was entered on 6/10/2024 at 11:14 AM CDT and filed on 6/7/2024

  Case Name:       USA v. Williams
  Case Number:     4:24−mj−00407−CDL
  Filer:
  Document Number: No document attached
  Docket Text:
  ARREST on Charges Pending in Another District(Rule 5) as to Victoria Leanne Williams (tjc,
  Dpty Clk)


  4:24−mj−00407−CDL−1 Notice has been electronically mailed to:

  Kate Brandon &nbsp &nbsp kate.brandon@usdoj.gov, caseview.ecf@usdoj.gov, hunter.marone@usdoj.gov

  4:24−mj−00407−CDL−1 Notice has not been electronically mailed to:
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                      Plaintiff,

v.
                                                     Case No. 24-MJ-407-CDL
VICTORIA LEANNE WILLIAMS,

                      Defendant.



                               Motion for Detention Hearing

     COMES NOW the United States of America, pursuant to 18 U.S.C. § 3148, and

hereby requests that the Court hold a hearing pending revocation or modification of

pretrial release to determine:

     (1) whether there is --

        (A) probable cause to believe that the person has committed a Federal, State
        or local crime while on release, or

        (B) clear and convincing evidence that the person has violated any other
        condition of release, and

     (2) whether--

        (A) based on the factors set forth in § 3142(g), any condition or combination of
         conditions will reasonably assure the appearance of the Defendant as required
         and the safety of any other person and the community, or

        (B) whether the Defendant is unlikely to abide by any condition or
         combination of conditions.
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      Dated this 10th day of June, 2024.


                                      Respectfully submitted,

                                      CLINTON J. JOHNSON
                                      UNITED STATES ATTORNEY


                                      /s/ Kate Stidham Brandon
                                      Kate Stidham Brandon, Bar No. 33125
                                      Assistant United States Attorney
                                      110 West Seventh Street, Suite 300
                                      Tulsa, Oklahoma 74119
                                      (918) 382-2700




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